Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 1 of 13 PageID #: 7845




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    BARKAN WIRELESS IP HOLDINGS, §
    L.P.,                            §
                                     §
             Plaintiff,              §
                                     §
    v.                               §
                                                         Case No. 2:21-cv-00034-JRG
                                     §
    T-MOBILE US, INC., T-MOBILE USA, §
    INC., AND NOKIA OF AMERICA §
    CORPORATION,                     §
                                     §
            Defendants.              §


                                ORDER ON MOTIONS IN LIMINE

          On November 29, 2021, the Court heard argument at the Pretrial Conference in the above-

   captioned case regarding a motion in limine filed by Plaintiff Barkan Wireless IP Holdings, L.P.

   Dkt. No. 191) and a motion in limine filed by Defendants T-Mobile US, Inc., T-Mobile USA, Inc.,

   and Nokia of America Corporation (collectively, the “Defendants”) (Dkt. No. 190).

           This Order summarizes and memorializes the Court’s rulings and reasons, including

   additional instructions given to the parties. While this Order memorializes such rulings, it in no

   way limits or constrains the Court’s rulings as announced into the record from the bench. Further,

   a party must approach the bench before introducing evidence or argument about the subject matter

   of a motion in limine that has been granted or agreed. Accordingly, it is hereby ORDERED as

   follows:




                                                   1
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 2 of 13 PageID #: 7846




           A.      Joint Stipulation on Motions in Limine (Dkt. No. 189)

           On November 8, 2021, the parties submitted agreed motions in limine. This Order

   memorializes those agreed motions.



   1. Agreed MIL No. 1: No party will reference the race, national origin, religion, sexual orientation,

   or sexual activities of any person, including any party or witness. This agreement shall not be

   deemed to preclude non-disparaging references to the location where the individual resides or to

   the individual’s employment history or educational background.



   2. Agreed MIL No. 2: No party will reference any motions or orders in this case, other than the

   claim constructions set out in the Court’s Markman order, including the fact that a party filed

   motions in limine or that the Court granted or denied any requested relief.



   3. Agreed MIL No. 3: No party will reference an expert’s other affiliations with a party or its

   counsel on matters not related to the instant action.



   4. Agreed MIL No. 4: No party will reference the role or presence in the courtroom of jury

   consultants or shadow jurors, if any, or the use, if any, of jury consultants or jury study or focus

   groups to assist with trial preparation, jury selection, or trial.



   5. Agreed MIL No. 5: No party will ask questions during voir dire seeking to commit prospective

   jurors to a particular range or amount of damages. This agreement does not prevent the parties




                                                       2
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 3 of 13 PageID #: 7847




   from asking prospective jurors if they can award an amount of damages that is “fair” or whether

   there are circumstances in which no damages are “fair.”



   6. Agreed MIL No. 6: Counsel may not make statements regarding personal beliefs or give

   personal opinions of the case.



   7. Agreed MIL No. 7: No party will offer or present any evidence or argument concerning

   settlement offers made by any party and any conduct or statements made by any party or a

   representative of any party during negotiations, communications, or discussions related to

   settlement.



   8. Agreed MIL No. 8: No party will reference privileged material, including asking questions

   intended to provoke a privileged or protected answer, inquiring into the nature of any fact witness’s

   preparation for testimony with that witness’s counsel, or inquiring into the nature of any retained

   expert’s preparation for testimony with that party’s counsel. This agreement covers any material

   that is privileged, including questions justifying a privilege objection or referencing a privilege-

   log entry.



   9. Agreed MIL No. 9: No party will make any reference to contingent fees, fees incurred, or fee

   agreements for legal services. This agreement is not meant to protect discoverable information

   from experts, such as hourly rates or bills.




                                                    3
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 4 of 13 PageID #: 7848




   10. Agreed MIL No. 10: No party will reference the size of any law firm representing any party,

   the geographic location of the law firm’s offices, other matters handled by the law firm or any of

   its lawyers, other clients or types of clients represented by the law firm or lawyers, any disciplinary

   action or investigation into the law firm or lawyer representing any party, and the wealth of any

   attorney or law firm.



   11. Agreed MIL No. 11: Both parties made objections to form to preserve their rights during

   depositions. When video or transcripts from such depositions are presented to the jury, all parties

   will remove all objections, comments, or responses to objections from the subject matter presented

   to the jury, to the extent practicable.



   12. Agreed MIL No. 12: No party will offer any argument or evidence that the Eastern District of

   Texas is an improper venue in which to try this case, or suggesting that a party lacks sufficient

   connection to the Eastern District of Texas. This agreement is not meant to preclude a party from

   offering otherwise admissible evidence about the background of the parties.



   13. Agreed MIL No. 13: No party will offer argument, evidence, or testimony referring to Barkan

   or the Patents-in-Suit in disparaging ways, including as, for example, a “patent troll,” “pirate,”

   “bounty hunter,” “privateer,” “bandit,” “paper patent,” “submarine patent,” “torpedo,” “playing

   the lawsuit lottery,” “corporate shell,” “litigation shell,” or a “patent assertion entity.” This

   agreement shall not preclude nondisparaging evidence that Barkan does not manufacture or sell

   products or that Barkan as an entity licenses and litigates, so long as those terms are used in

   conjunction with one another.



                                                     4
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 5 of 13 PageID #: 7849




   14. Agreed MIL No. 14: No party will reference or offer any argument or evidence concerning the

   existence of prior claims or causes of action against Defendants that have been dismissed,

   abandoned, or dropped by Barkan, including the fact that such claims or causes of actions were

   previously asserted but have been dismissed, abandoned, or dropped.



   15. Agreed MIL No. 15: No party will reference or offer any argument or evidence that the

   Accused Products do not infringe merely because they practice the prior art. This agreement is not

   intended to preclude either party from offering evidence, testimony, or arguments that the other

   party is taking inconsistent infringement and invalidity positions.



   16. Agreed MIL No. 16: Defendants will not reference or offer any argument or evidence

   suggesting that they relied on the advice of counsel that the Patents-in-Suit were invalid or that the

   Accused Products did not infringe the Patents-in-Suit.



   17. Agreed MIL No. 17: Defendants will not reference or offer any argument or evidence

   suggesting that a judgment in this case will adversely affect the economy or members of the jury,

   will lead to layoffs, will harm or threaten the financial viability of Defendants, or will harm

   Defendants’ employees or customers.



   18. Agreed MIL No. 18: No party will reference or offer any argument or evidence regarding the

   fact that testimony or opinions offered by any expert may have been criticized, excluded, or found

   to be unreliable in any other lawsuits, unless the party offering the expert opens the door.



                                                     5
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 6 of 13 PageID #: 7850




   19. Agreed MIL No. 19: No party will reference or offer any argument or evidence regarding the

   fact that testimony or opinions offered by any expert may have been criticized, excluded, or

   stricken by the Court in this action, unless the party offering the expert opens the door. This

   agreement shall not preclude either party from offering any otherwise admissible argument,

   evidence, or expert testimony or opinion criticizing the opinions or testimony of the other side’s

   experts.



   20. Agreed MIL No. 20: No party will reference or offer any argument or evidence regarding the

   Sprint settlement agreement.



   21. Agreed MIL No. 21: No party will offer any argument, evidence, or suggestion regarding

   Defendants’ total company revenue, profit, or net worth. This agreement shall not preclude either

   party from offering any argument, evidence, or expert testimony or opinion relating to T-Mobile’s

   profits per user and/or per account, including the methodology for calculating the same, provided

   that such argument, evidence, or testimony does not disclose T-Mobile’s total company revenue,

   profit, or net worth.



   22. Agreed MIL No. 22: No party will reference or offer any argument, evidence, or suggestion

   that the Court has the power to dismiss frivolous claims.



   23. Agreed MIL No. 23: No party will reference or offer any argument, evidence, or suggestion

   concerning infringement under the Doctrine of Equivalents.



                                                   6
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 7 of 13 PageID #: 7851




          B.      Barkan’s Motions in Limine (Dkt. No. 191)

   1. Plaintiff’s MIL No. 1: Motion to exclude references to equitable issues, inequitable conduct,

   deceptive intent, fraud on the patent office, misstatements about claim scope, misleading the patent

   office, misrepresentations to the patent office, or withholding from the patent office.

          This motion in limine is GRANTED. There shall be no testimony or argument regarding

   the prosecution history in front of the jury, without prior leave of Court.



   2. Plaintiff’s MIL No. 2: Motion to exclude evidence regarding the net worth or income of the

   inventor of the Patents-in-Suit, Dr. Elad Barkan.

          This motion in limine is GRANTED-IN-PART with respect to net worth. The Plaintiff

   has also disclaimed making any “David v. Goliath” or “corporate giant” arguments.



   3. Plaintiff’s MIL No. 3: Motion to exclude non-infringement arguments based on preferred

   embodiments.

          This motion in limine is GRANTED. Defendants shall not compare the Accused Products

   to embodiments in the specification.



   4. Plaintiff’s MIL No. 4: Motion to exclude non-infringement arguments based on prosecution

   history or re-exam history.

          This motion in limine is DENIED as unnecessary because this MIL is covered by the

   Court’s ruling on Plaintiff’s MIL No. 1.




                                                     7
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 8 of 13 PageID #: 7852




   5. Plaintiff’s MIL No. 5: Motion to exclude relative importance of claim elements.

          This motion in limine is GRANTED. There shall be no argument that only some of the

   limitations need be met.



   6. Plaintiff’s MIL No. 6: Motion to exclude any reference to the royalty rates in licenses

   Defendants have admitted are not comparable.

          This motion in limine is GRANTED-IN-PART with respect to financial terms of non-

   comparable licenses. Specifically, the financial terms of the IP Access agreement (Def. Ex. 107)

   are excluded.



   7. Plaintiff’s MIL No. 7: Motion to exclude any evidence related to the Technion’s purported

   ownership interest in the Patents-in-Suit.

          This motion in limine is GRANTED.



   8. Plaintiff’s MIL No. 8: Motion to exclude Defendants’ patents.

          This motion in limine is GRANTED-IN-PART with respect to any argument that

   ownership of a patent is a defense to infringement.



   9. Plaintiff’s MIL No. 9: Motion to exclude evidence conflicting with the Court’s Claim

   Construction Order.

          This motion in limine is DENIED as unnecessary.




                                                   8
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 9 of 13 PageID #: 7853




   10. Plaintiff’s MIL No. 10: Motion to exclude evidence relating to the marking of CommScope

   Products.

          This motion in limine is AGREED. Dkt. No. 201. The parties agree that no party will offer

   or present any evidence or argument suggesting the existence of unmarked CommScope products

   and/or that Barkan is not entitled to pre-suit damages, or damages should be limited, for failure to

   mark CommScope products under 35 U.S.C. § 287.



   11. Plaintiff’s MIL No. 11: Motion to exclude evidence relating to the marking of Sprint Products.

          This motion in limine is AGREED. Dkt. No. 201. The parties agree that no party will offer

   or present any evidence or argument suggesting the existence of unmarked Sprint products and/or

   that Barkan is not entitled to pre-suit damages, or damages should be limited, for failure to mark

   Sprint products under 35 U.S.C. § 287.



   12. Plaintiff’s MIL No. 12: Motion to exclude undisclosed claims or defenses.

           This motion in limine is WITHDRAWN.



   13. Plaintiff’s MIL No. 13: Motion to exclude criticisms of the PTO or U.S. patent system.

          This motion in limine is GRANTED based on the Defendants’ representation that any

   criticisms of the PTO will be limited to those in the Federal Judicial Center’s video presented to

   the jury and any criticisms specific to the present case.




                                                     9
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 10 of 13 PageID #: 7854




          C.      Defendants’ Motion in Limine (Dkt. No. 190)

   1. Defendants’ MIL No. 1: Motion to exclude argument, evidence, or suggestion by Barkan

   regarding Barkan’s past settlement agreement with CommScope.

          This motion in limine is DENIED.



   2. Defendants’ MIL No. 2: Motion to exclude argument, evidence, or suggestion regarding

   Defendants’ other patent litigations, e.g., Defendants’ status as a patent plaintiff or any positions

   Defendants have taken in other, unrelated litigations.

          This motion in limine is GRANTED. Plaintiff withdrew its objections.



   3. Defendants’ MIL No. 3: Motion to exclude argument, evidence, or suggestion that any former

   Sprint products in T-Mobile’s network are licensed to the Asserted Patents.

          This motion in limine is GRANTED-IN-PART with respect to any argument that the

   CommScope license covers components of T-Mobile’s network. This does not prevent mention

   that Sprint is the other party to the CommScope license.



   4. Defendants’ MIL No. 4: Motion to exclude argument, evidence, or suggestion regarding non-

   accused Nokia or T-Mobile products as evidence that an accused product infringes or provides

   alleged benefits.

          This motion in limine is DENIED.



   5. Defendants’ MIL No. 5: Motion to exclude argument, evidence, or suggestion that the Asserted

   Patents are entitled to a priority date earlier than August 12, 1999.



                                                    10
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 11 of 13 PageID #: 7855




           This motion in limine is DENIED. During the Pre-trial Conference, the parties disputed

   whether expert testimony was necessary to establish an earlier priority date. The Plaintiff argued

   that an inventor—i.e. a fact witness—can testify about an earlier conception and reduction to

   practice; whereas, the Defendants’ argued that expert testimony is required to demonstrate whether

   an earlier priority document has sufficient information to satisfy the written description

   requirement. These are two distinct issues. The Plaintiff is correct that an inventor can testify about

   an earlier conception and reduction to practice date. See, e.g., E.I. du Pont De Nemours & Co. v.

   Unifrax I LLC, 921 F.3d 1060, 1078 (Fed. Cir. 2019) (holding that “[u]nder the ‘rule of reason’

   analysis, the evidence in its totality supports the jury’s finding that the inventors’ testimony was

   sufficiently corroborated.”) (emphasis added). The Defendants’ also have failed to cite legal

   authority that supports their proposition. The case Defendants cited during the Pre-Trial

   Conference—Wang Laboratories, Inc. v. Toshiba Corp., 993 F.2d 858 (Fed. Cir. 1991)—does not

   clearly support the proposition that expert testimony is needed to demonstrate that an earlier

   document contains sufficient written description to serve as a priority document. Additionally,

   neither party disputed that the Plaintiff timely disclosed the documents it contends show an earlier

   priority date.



   6. Defendants’ MIL No. 6: Motion to exclude argument, evidence, or suggestion regarding

   discovery disputes or alleged incomplete financial or technical document productions by Nokia or

   T-Mobile.

           This motion in limine is GRANTED. A witness can testify that a document was not given

   to him or her but cannot attribute the production failure to the opposing party.




                                                     11
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 12 of 13 PageID #: 7856




   7. Defendants’ MIL No. 7: Motion to exclude argument or suggestion that T-Mobile has ever

   deactivated an Accused Device for a customer failing to pay their bills.

             This motion in limine is DENIED.



   8. Defendants’ MIL No. 8: Motion to exclude argument, evidence, or suggestion that Barkan’s

   Trial Exhibit No. 43, Bates Nos. NAC-BARKAN_00889383–NAC-BARKAN_00889393,

   accurately describes the functionality of the SMP server.

             This motion in limine is DENIED.



   9. Defendants’ MIL No. 9: Motion to exclude argument, evidence, or mention of Barkan’s Trial

   Exhibit No. 155, Bates Nos. NAC-BARKAN_01171921-NAC-BARKAN_01171922, to support

   Barkan’s damages claim.

             This motion in limine is DENIED.



   10. Defendants’ MIL No. 10: Motion to exclude argument, evidence, or reference to Mr. Bratic’s

   Unsupported Calculation of TMobile’ Cost Savings of $112.7 million.

             This motion in limine is DENIED.



   11. Defendants’ MIL No. 11: Motion to exclude argument, evidence, or suggestion regarding prior

   inter partes review proceedings involving the asserted patents other than to reference invalidated

   claims.

             This motion in limine is GRANTED-IN-PART. Both sides will not make references to

   IPR proceedings for any reason without leave. This however does not prevent the use of sworn



                                                   12
Case 2:21-cv-00034-JRG-RSP Document 227 Filed 12/16/21 Page 13 of 13 PageID #: 7857




   testimony from an IPR proceeding to impeach a witness, but if used for impeachment, the parties

   cannot reference that the sworn testimony was provided in the context of an IPR proceeding.
             SIGNED this 3rd day of January, 2012.
            SIGNED this 16th day of December, 2021.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




                                                 13
